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           FILED
UNITED STATES DISTRICT COURT                           Exhibit 4
     DENVER, COLORADO
        8:26 am, Apr 19, 2022
 JEFFREY P. COLWELL, CLERK




             SUPREME COURT
             STATE OF COLORADO
             2 East 14th Avenue
             Denver, Colorado 80203

             On Certiorari to the Colorado Court of Appeals
             Court of Appeals Case No. 2020CA1176                             ^COURT USE ONLY^
             Jefferson County Court Case No. 2020CV80

             PETITIONER           Reed K. McDonald                                  District Court
                                                                                   Case Number: 21
             v.
             RESPONDENT            Jefferson County Public Health – Mitch
             Brown in his official capacity as supervisor of Environmental   Division:
             Health, Jefferson County, Colorado,

             Attorney for Petitioner:                                        Courtroom:
             Reed K. McDonald Pro se
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             Unit 32-Ste 163
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             Amanda B. Cruser
             Lakewood, Colorado 80123
             Phone Number: 720-272-8598




                                      PETITION FOR WRIT OF CERTIORARI




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                      CERTIFICATE OF COMPLIANCE

 I hereby certify that this Petition complies with all requirements of C.A.R. 32 and
 C.A.R. 53, including all formatting requirements set forth in these rules.
 Specifically, the undersigned certifies that:

       This Petition contains 3,556 words, which does not exceed the
       word limit of 3,800 words.


                                                   Reed K. Mc Donald




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                      ISSUES PRESENTED FOR REVIEW

 Constitutional Conflict Under CORA:

       This case results from a series of false complaints filed by the public to

 harass the Vine Ranch Farm operation (Subject Farm) after the public was

 informed by Jefferson County, Zoning (Jeffco) they would not halt the legitimate

 Subject Farm operation. See C.R.S. §18-9-111 & C.R.S. §35-3.5-102.

       The vine Ranch Farm is located in unincorporated Jefferson County,

 Colorado. The subject farm and surrounding properties are zoned agricultural.

 Because of the housing crisis, individuals have purchased agricultural land to build

 million-dollar homes, then complained about the resident farm. Because different

 departments of Jeffco do not confer prior to investigating false and or harassment

 complaints, one arm of the county does not know what the other is doing.

       This has led to Jeffco violating Petitioner’s civil rights numerous times via

 public false complaint. After the public false complaint, Jeffco trespassed the

 Subject Farm’s gated private road, traveling several miles on the Subject Farm’s

 private property to the location of the Subject Farm without warrant. Thus, Jeffco

 has violated Petitioner’s civil rights. Because Jeffco’s acts represent a series of

 constitutional violations, Petitioner seeks the names of the false filers swatting the




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 approved farm operation. As a matter of county policy Jefferson County, Colorado

 believes it is allowed to disregard the Constitution.

         This exact type of case has already been heard by the Supreme Court of the

 United States in Camara v. City of San Francisco and See v. Seattle, where the

 court adjudged, city inspector was required to possess warrant to conduct an

 inspection. Because, Jeffco’s inspections were without warrant they are

 unconstitutional, illegal and are barred as a matter of law; fruit of the poisonous

 tree.

         Moreover, this action comes before this court because of constitutional

 conflict between two (2) sections of this State’s statutes C.R.S. § 35-3.5-102

 Colorado’s Right to Farm Act and C.R.S. § 24-72-204(1)(2)(3) Colorado’s Open

 Record Act. The Vine Ranch Farm, subject to an ongoing case of harassment via

 Jeffco’s policy for accepting and concealing anonymous false complaints denied

 Petitioner to face his accuser[s] who filed the false complaints as mandated by the

 6th Amendment of the Constitution.

         Because the neighbor[s] filed numerous false complaints to harass the

 Subject Farm. And because these false complaints led to Jeffco’s trespassing the

 Subject Farm’s private gated road to conduct inspections without warrant, Jeffco’s

 unconstitutional acts are intertwined with the public false complaints.

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        Petitioner seeks the names of the individuals who are filing the false

 complaints harassing the Subject Farm operation, therein allowing the false filers

 to be brought to justice in civil court. Jeffco’s unconstitutional acts are affirmed

 because they admitted they trespassed Petitioner’s gated private road without

 warrant. Thereafter, conducting surveillance, search and seizure of Petitioner’s

 private property.

 6th Amendment Constitutional Conflict:

        Second, this case comes before this Court because that subject State statute

 C.R.S. § 24-72-204(1)(2)(3) is in conflict with the 6th Amendment of the

 Constitution; the right to face one’s accuser. Jeffco in error now flies a civil case

 against this farmer because of the public’s false complaints resulting in ill-advised

 court action with the possibility of incarceration and monetary fines leveled against

 this Petitioner.

 4th & 14th Constitutional Conflict:

        Third, intertwined in this case is the issue of Jefferson County’s violation of

 Petitioners 4th and 14th amendment rights regarding Jeffco’s illegal trespass,

 surveillance and illegal inspection of the Subject Farm operation triggered by

 public false complaint.




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       Jefferson County, admits its county policy to trespass private gated roads, to

 surveil individuals, conduct illegal searches of the private property without

 warrant, and without the owner’s knowledge or presence.

 Majority’s Opinion:

       The majority’s decision was erroneous because they refused to obey and

 uphold the 4th, 6th and 14th Amendments to the Constitution of the United States

 and Colorado’s Constitution, Article II, Sections 7 and 25.

       In addition, there exists a direct conflict between C.R.S. §35-3.5-102 and

 C.R.S. §24-72-204, therein allowing Jeffco to conceal the false filer[s] who are

 harassing the Subject Farm.

       Moreover, the majority’s decision is in direct willful disrespect of this

 Court’s decisions in Hoffman v. People, 780 P.2d 471 (Colo.1989); Hoery v.

 United States of America, 64 P.3d 214 (Colo.2003); Miller v. Carnation Company,

 516 P.2d 661 (Colo.App.1973) and Supreme Court of the United States decisions

 in Camara v. City of San Francisco, 387 U.S. 523 (1967) and See v. City of Seattle,

 387 U.S. 523 (1967).

       It would appear on its face the appellate court attempted to retry the case in

 error. The appellate court cites illegal and incorrect observations made by the




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  Jeffco trespasser. Permits for all on-site equipment were on file in the county’s

  record at the time of Jeffco’s trespass.

        The Jeffco trespasser simply did not perform their due diligence and job

  prior to surveilling and conducting their illegal search and seizure of the Subject

  Farm property. Simply, any reference by the appellate court to what they believe to

  be violations which lie without foundation are barred as a matter of law, even

  though their assumptions are incorrect, their reasoning is moot as any information

  gained during their illegal and unconstitutional search of the Subject Farm would

  be fruit of the poisonous tree.

                             OPINION TO BE REVIEWED

        Reed Kirk McDonald v. Jefferson County, and Mitch Brown in his official capacity as

  Supervisor of Environmental Health, Jefferson County, Colorado case 2020cv80; attached as

  Appendix A.

                          STATEMENT OF JURISDICTION

        This Court has jurisdiction under C.A.R. 49(a)(1) (2) (3) (4). On December

  16, 2021, the Court of Appeals issued its opinion. That opinion was served via

  USPS to the pro se Petitioner on December 23, 2021. Thus, this Petition for Writ

  of Certiorari is timely filed.

                         REFERENCE TO PENDING CASES


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        This Court has not granted a writ of certiorari on the Constitutional issues

  raised here under Colorado Open Records Act’s conflict with Colorado’s Right to

  Farm Act and the intertwined unconstitutional acts of trespass and illegal search

  and seizure by Jefferson County, Colorado. Moreover, this Court has not ruled on

  the ability of a county government to conceal individuals who file false complaints

  to harass approved farm operations.

              OPINION OF THE DISTRICT/APPELLATE COURT

        The District issued its opinion on January 15, 2021; thereafter, that case

  went on appeal. Appendix Document 1.

        The Court of Appeals issued its opinion on December 16, 2021. Thereafter,

  Petitioner received that decision on December 23, 2021. Appendix Document 2

                           STATEMENT OF THE CASE

        This dispute arises from Colorado, Jefferson County’s (Jeffco) violation of

  Petitioner’s 4th, 6th, and 14 Amendment rights after a series of concealed false

  nuisance complaints were filed to obstruct and harass the Subject Farm operation

  by members of the public in violation of C.R.S. §35-3.5-102.

        Moreover, this case concerns the conflict between two State Statutes C.R.S.

  § 35-3.5-102 and C.R.S. §24-72-204(1)(2)(3), regarding the concealment of

  individuals who file false complaints to harass farm/ranch operations. Colorado’s

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  Open Records Act, (CORA) C.R.S. §24-72-201 to 206, provides all public records

  shall be open for inspection by any person at reasonable times. In violation of

  CORA, Jeffco refuses to release names of individuals who file false reports.

        It is a matter of public record that Petitioner held permits for the subject

  property regarding office, storage and propagation facility for live plants on site at

  the time of Jeffco’s trespass. Jeffco prior to trespassing Petitioner’s gated private

  road failed to investigate its own issued permits prior to violating Petitioner rights

  secured under Constitution and its 4th, 6th and 14th Amendments against illegal

  surveillance, search, seizure and the right to face his ones accuser.

        In addition, State Statute C.R.S. § 24-72-204(1)(2)(3) allows a government

  entity to conceal the names of individuals swatting a legal farm operation. Swatting

  is a criminal harassment tactic, deceiving a city/county government into sending

  police, emergency service or county response team to another person's address.

  Petitioners’ neighbors, use “swatting” to file anonymous false/nuance complaints

  in unincorporated Jefferson County, Colorado to harass and obstruct the Subject

  Farm operation.

        Petitioner is an owner of a rural farm operation known and registered with

  the State of Colorado as the Vine Ranch Farm. Located at 14309 Elk Mountain

  Trail, Littleton Colorado. See CO #20181287896. Petitioner has farmed this

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  agricultural zoned property since 2017; historically this agricultural property has

  always been zoned and used as agricultural land since its existence.

        Jeffco trespassed Petitioner’s private gated road on or about July of 2018;

  June of 2019; May of 2020; and again, during August of 2021; Jeffco’s

  government employees trespassed Petitioners gated private road based on false

  complaints. Jeffco warned of their unconstitutional acts stated during hearing they

  were allowed to violate the United States and Colorado Constitutions because they

  were a governmental agency; Jeffco refusing to adhere to rulings of the Supreme

  Court of the United States in Camara v. City of San Francisco, 387 U.S. 523

  (1967) and See v. City of Seattle, 387 U.S. 523 (1967).

        After trespassing Petitioner’s gated private road, Jeffco’s government

  employee drove several miles on Petitioner’s private road to site of his farm.

  Thereafter, Jeffco again trespassed, surveilled, and conducted a search of the

  Petitioner’s property without warrant and without Petitioner’s knowledge or

  presence. These inspections were initiated because the surrounding neighbors who

  built million-dollar homes on agricultural land seek to have the Subject Farm

  shuttered; simply harassment pursuant to Colorado’s Right to Farm Act – C.R.S.

  §35-3.5-101, et seq.




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        This type of case against a working farm has already been heard and decided

  in Colorado’s Appellate Court in case #2013ca1806. In that appellate case, the

  court ruled in favor of the subject farm operation. See Amicus Brief by Colorado’s

  Department of Agriculture and then Governor, the honorable John W.

  Hickenlooper. Appendix Document C.

        In addition, Jeffco’s constitutional violations cited by Petitioner have already

  been decided by the Supreme Court of the United States in Camara v. City of San

  Francisco, 387 U.S. 523 (1967) and See v. City of Seattle, 387 U.S. 523 (1967).

        In Camara & See, the Supreme Court of the United States was asked if a

  county/city government employee could search an individual’s property without

  warrant. Camara was charged with violating the San Francisco Housing Code

  refusing, after three efforts by city housing inspectors to secure his consent, to

  allow a warrantless inspection of the ground-floor quarters which he leased and

  residential use of which allegedly violated the apartment building's occupancy

  permit. Thereafter, Camara was arrested and incarcerated. Camara claiming the

  inspection ordinance unconstitutional for failure to require a warrant for

  inspections, while awaiting trial, sued in a State Superior Court for a writ of

  prohibition, which the court denied. Relying on Frank v. Maryland, 359 U. S. 360,

  and similar cases, the district court of appeal affirmed, holding that the ordinance

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  did not violate the Fourth Amendment. The state supreme court denied a petition

  for hearing.

  The Supreme Court of the United States Opinion in Camara & See:

  The Supreme Court of the United States reversed the state’s opinion in Camara
  and See during 1967 in, 387 U.S. 541 (1967), the Supreme Court adjudged the
  following:

        1. The Fourth Amendment bars prosecution of a person who has refused to
  permit a warrantless code enforcement inspection of his property. Frank v.
  Maryland, pro tanto overruled. Pp. 387 U. S. 528-534.

         (a) The basic purpose of the Fourth Amendment, which is enforceable
  against the States through the Fourteenth, through its prohibition of "unreasonable"
  searches and seizures is to safeguard the privacy and security of individuals against
  arbitrary invasions by governmental officials. P. 387 U. S. 528.

        (b) With certain carefully defined exceptions, an unconsented warrantless
  search of private property is "unreasonable." Pp. 387 U. S. 528-529.

         (c) Contrary to the assumption of Frank v. Maryland, Fourth Amendment
  interests are not merely "peripheral" where municipal fire, health, and housing
  inspection programs are involved whose purpose is to determine the existence of
  physical conditions not complying with local ordinances.

         (d) Warrantless administrative searches cannot be justified on the grounds
  that they make minimal demands on occupants.

        Thus, Jeffco’s acts of trespass, surveillance, search and seizure of

  Petitioner’s property were illegal and unconstitutional.

  Colorado’s Right to Farm Act:




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        Moreover, Colorado’s General Assembly passed legislation/law against this

  type of false complaint designed to harass farm/ranch operations during 1981. See,

  C.R.S. §35-3.5-102 which provides the following:

        C.R.S. §35-3.5-102(1)(a) Except as provided in this section, an agricultural
        operation shall not be found to be a public or private nuisance if the
        agricultural operation alleged to be a nuisance employs methods or practices
        that are commonly or reasonably associated with agricultural production.
        Although, the public informed the Vine Ranch Farm is a legal operation, the

  surrounding public so furious with Jeffco, violated State law by insisting the

  subject farm operation be shuttered. Because the subject farm is a legal farm

  operation, the surrounding public has sought by other means to use anonymous

  false complaints to interfere and obstruct the farm operation in violation of

  Colorado law and the Constitution.

        As a matter of right, Petitioner has the constitutional and legal right to know

  who is filing false complaints against the Subject Farm operation.

                              STANDARD OF REVIEW
        The issues raised in this petition are questions of law reviewed de novo.

  Robinson v. Colo. State Lottery Div., 179 P.3d 998, 1003 (Colo.2008)

  (determinations regarding immunity are reviewed de novo); Taco Bell, Inc. v.

  Lannon, 744 P.2d 43, 46 (Colo. 1987). Constitutional errors are reviewed de novo.

  Strict judicial scrutiny is warranted when participatory and constitutional rights are
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  infringed not only because a fundamental right is at stake, but also because the

  presumption of constitutionality and the approval given "rational" classifications in

  other types of enactments are based on an assumption that the institutions of state

  government are structured so as to represent fairly all the people.

        However, when the challenge to the statute is in effect a challenge of this

  basic assumption, the assumption can no longer serve as the basis for presuming

  constitutionality. Kramer, 395 U.S. at 621, S.Ct. (1969).

        The District’s opinion in willful disobedience, challenges the Supreme Court

  of the United States judgment in Camara & See.

                       REASONS TO GRANT CERTIORARI
        This Court has defined trespass as; “trespass is any entry upon the real estate

  of another without the invitation or permission of the person lawfully entitled to

  possession of the real estate.” CJI-Civ.2d. 18:1 (1980); United States v. Osterlund,

  505 F.Supp. 165 (D.Colo.1981), aff'd, 671 F.2d 1267 (10th Cir.1982); see

  Restatement (Second) of Torts, §§ 158-159 (1965) and Plotkin v. Club Valencia

  Condominium Ass’n, 717 P.2d 1027 (Colo.App.1986).

        What’s clear and irrefutable is Jeffco’s government employees have

  trespassed Petitioner’s private gated road numerous times. Jeffco’s unconstitutional

  acts of trespass, surveillance, search and seizure initiated by public false


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  complaints remains unaddressed by the lower-court. The identities of the false

  fliers who caused Jeffco to violate Petitioner’s civil rights have been concealed.

        More concerning is Jeffco’s refusal to release the identities of the false files

  as a matter of county policy; thus, the county lies responsible for its

  unconstitutional policies.

        Jeffco claims they have the constitutional right to trespass gated private

  gated roads and property to surveil, search and seize private property without

  warrant. Jeffco’s policy contradicts the constitutional edicts for a person’s right

  secured under not only the Colorado Constitution but also the United States

  Constitution.

        Moreover, when the public claims are proven false, Jeffco refuses to release

  the names of the individuals filing the false claims harassing the Subject Farm

  operation in violation of CORA. Furthermore, it is a violation of the Constitution

  for Jeffco to deny Petitioner the right to face his false accuser.

  Confrontation Clause:

        The Sixth Amendment of the United States Constitution provides the

  following:

        “In all criminal prosecutions, the accused shall enjoy the right to... be
  confronted with the witnesses against him....”


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      The Confrontation Clauses historical background supports two principles.

  First, the principal evil at which the Clause was directed was the civil-law mode of

  criminal procedure, particularly the use of ex parte examinations as evidence

  against the accused. The Clause's primary object is testimonial hearsay, and

  interrogations by law enforcement officers fall squarely within that class.

      Second, the Framers would not have allowed admission of statements by a

  witness who did not appear at trial unless he was unavailable to testify and the

  defendant had had a prior opportunity for cross-examination or a chance to

  examine via oral hearing.

      English authorities and early state cases indicate that this was the common law

  at the time of the founding. And the "right ... to be confronted with the witnesses

  against him," Amdt. 6, is most naturally read as a reference to the common-law

  right of confrontation, admitting only those exceptions established at the time of

  the founding. See Crawford v. Washington, 541 U.S. 36 (2004); Mattox v. United

  States, 156 U. S. 237, 243. Pp. 5-21; Pointer v. Texas, 380 U.S. 400, 406 (1965).

      Simply, Jeffco refuses under State statute to release the names on individuals

  who file nuance complaints against the Subject Farm; this is a county policy.

  Jeffco’s Use of Out-of-Court Statements:




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       During 2004, the Supreme Court decided that out-of-court statements violated

  the Confrontation Clause when they decided, Crawford v. Washington, Supra. This

  case altered the rules for prosecutors. No longer could out-of-court statements be

  used against a defendant without providing an opportunity to cross-examine the

  witness. In Crawford, the Court changed course and determined that defendants

  had a right to cross-examine out-of-court statements, regardless of whether or not

  the statements were reliable. In building a case, prosecutors may want to use

  statements that people have made outside of the courtroom as evidence against the

  defendant.

       Jeffco uses out-of-court statements to trespass, surveil and search private

  property in violation of Constitution and SCOTUS judgments.

  Petitioner Not Allow to Confront False Filer Prior to Jeffco’s Civil Rights
  Violations:

        Jeffco after their illegal trespass, illegal surveillance and illegal search of

  Plaintiff’s property was not allowed to confront his accuser. Instead Jeffco issued

  fines in the $5,000 against this Petitioner.

  Jeffco’s disrespect of SCOTUS judgment in Camara and See:

        It crystal clear Jeffco in contravention of SCOTUS decision in Camara and

  See believes it does not to have to obey its superior court or the Constitution.

  SCOTUS made clear in Camara/See, Jeffco was required to have warrant to
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  trespass Petitioners’ gated private road traveling to the Subject Farm where it

  conducted its illegal search, surveillance and seizure.

        Thus, all of Jeffco’s unconstitutional acts were concealed and executed in

  completed secrecy, therefore, in violation of the Constitution.

                                    CONCLUSION

        Both the District and the Appellate Court willfully disrespected the Colorado

  Constitution, United States Constitution and the judgment of not only this Court

  but that of the Supreme Court of the United States in Camara & See Supra.

        SCOTUS made clear in Camara & See, when a government agency seeks to

  inspect private property, a warrant is required. SCOTUS ruled;

         “Amendment interests are not merely peripheral where municipal fire,
        health, and housing inspection programs are involved whose purpose is to
        determine the existence of physical conditions not complying with local
        ordinances. Warrantless administrative searches cannot be justified on the
        grounds that they make minimal demands on occupants.”

        Jeffco used false second-hand statements to trespass the Subject Farm’s

  gated private road without warrant and the denied this Petitioner constitutional

  rights to face his false accuser prior to their trespass. Jeffco using the false

  complaint trespassed, surveilled and searched the Subject Farm. Jeffco well knew

  the complaint was false. Thereafter, Jeffco refused to release the name of the false

  filer in violation of CORA and Colorado’s Right to Farm Act.

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            The District ruled that Jeffco could violate the United States and Colorado

  Constitutions by refusing to address Jeffco’s trespass, illegal surveillance, illegal

  search, of the Subject Farm in violations of the 4th and 14th Amendments of the

  Constitution and Article II, Section 7 of the Colorado Constitution.

            Second the District ruled Jeffco could conceal the identity of false filers in

  violation of the 6th Amendment of the United States Constitution under Colorado

  after they used the false complaint to trespass the Subject Farm’s gated private

  property and road to issue an incorrect fine.

            Moreover, the District refused to uphold the ideals of the 6th Amendment to

  the United States Constitution providing an opportunity to cross the false filer.

            Simply, if Jeffco had followed lawful procedure we would not be before this

  Court. It crystal clear, Jeffco did not follow proper lawful procedure because they

  have a county wide policy of violating an individual’s and farm’s constitutional

  rights.

            WHEREFORE, Petitioner asks this Court to reverse and remand the case

  back to the District, with instructions to the lower-court to obey and honor the

  Constitution, Colorado Open Record Act, and Colorado’s Right to Farm Act.

  Releasing the names[s] of the false filers who in-part caused the Petitioners

  damages with instructions to the lower-court to enforce and uphold SCOTUS
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                                        Exhibit 4




  decisions in Camara/See requiring Jeffco to possess a warrant anytime they

  trespass a gated private road to search, surveil and seize private property.




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                                   Exhibit 4




                                  APPENDIX

  Appendix Document A……District Judgment

  Appendix Document B……Court of Appeals Judgment

  Appendix Document C…Amicus Brief by Colorado’s Department of Agriculture




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                                       Exhibit 4




                            CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing petition was served

  upon the following parties on this 26th Day of January, 2022 by email to:




        Respondent: Counsel for Jefferson County, Colorado

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  By________________________________________________




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